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                IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

WALTER PETTAWAY, as Administrator )
of the Estate of Joseph Lee Pettaway, )
deceased,                             )
                                      )
     Plaintiff,                       )
                                      )
v.                                    )
                                      )                 CASE NO. 2:19-cv-08-JTA
CPL. NICHOLAS D. BARBER and           )
SGT. MICHAEL D. GREEN,                )
                                      )
     Defendants.                      )

                                         ORDER

       Upon consideration of the defendants’ motion to strike documents (Doc. No. 118)

wherein the defendants urge the court to strike the documents filed by the plaintiff which

were filed in violation of the protective order (Doc. No. 101) and the court’s Order of

September 28, 2020 (Doc. No. 115), it is hereby

       ORDERED as follows:

       1. The motion to strike documents (Doc. No. 118) is GRANTED.

       2. Docs. No. 117 and 117-1 are hereby STRICKEN.

       The plaintiff is DIRECTED to submit his exhibits for the motion hearing to the

Courtroom Deputy as stated in the court’s Order of September 28, 2020 and follow the

directives in said Order for admission of the exhibits at the hearing. (See Doc. No. 115.)
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DONE this 1st day of October, 2020.




                          /s/ Jerusha T. Adams
                          JERUSHA T. ADAMS
                          UNITED STATES MAGISTRATE JUDGE
